Case 7:20-cv-00344-EKD-JCH Document1 Filed 06/17/20 Page1lof85 Pageid#: 1

Judge Recd Date | Grv.

 

For use by inmates in filing a complaint under CIVIL RIGHTS ACT, 42 USC §1983
INMATE NAME: Terry KF ers
PRISONER NO.: LIES FES.

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IN THE UNITED STATES DISTRICT COURT
‘FOR THE WESTERN DISTRICT OF VIRGINIA

 

 

 

 

 

 

 

 

 

 

ROANOKE DIVISION NOV 18 2019
Terry K. eForp 2.
Enter Full'Name *~ Plaintiff”
vs.
: / . ke, oft. ol, CIVIL ACTION NO. 7.7f-<v -eese7
Enter Full Name(s) Defendant(s)
A. Have you begun other actions in state or federal court dealing with the same facts
involved in this action or otherwise relating to your imprisonment?
Yes x No
B. if your answer to A is Yes, describe the action in the space below.
1. Parties to the Action: ME
2. Court: ME
3: Docket No.: Z
4, Judge: ;
5. Disposition: i

 

 

C. Have you filed any grievances regarding the facts of your complaint?
Yes ~ No

 

 

t; if your answer is Yes, complete the enclosed verified statement, indicating
the result. Please attach evidence of your exhaustion of all available
grievance procedures.

 

2. If your answer is No, indicate the reason for failure to exhaust on the verified
statement. You may be required to exhaust your claims ee any
a grievance procedures. Your compiaint may be dismissed if you
fail to exhaust all avenues of the grievance process in a timely fashion.
 

Case 7:20-cv-00344-EKD-JCH Document1 Filed 06/17/20 Page 2 of 85 Pageid#: 2

D. Statement of Claim - State here briefly the facts of your case. Describe what
action(s) each defendant took in violation of your constitutional rights. Include also
the names of other persons involved, dates and places. Do not give any legal
arguments or cite any cases or statutes. If you intend to allege a number of different
claims, number and set forth each claim in a separate paragraph. Use as much
space as needed. You may attach extra paper if necessary.

Claim #1 - Supporting Facts - Tell your story briefly without citing cases or law.
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Claim #2 - Supporting Facts - Tell your story briefly without citing cases or law.

 

 

Claim #3 - Supporting Facts - Tell your story briefly without citing cases or law.

 

 

E. State what relief you seek from the Court. Make no legal arguments, cite no cases

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SIGNED THIS__47" DAY OF _“Aévertber 2049
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felfo) See atte cAraerrH)
(Signature of Each Plaintiff)
VERIFICATION:

li Lett x. eit} , State that | am the plaintiff in this action
an now the content of the above complaint; that it is true of my own knowledge, except
as to those matters that are stated to be based on information and belief, and as to those
matters, | believe them to be true. | further state that | believe the factual assertions are
sufficient to support a claim of violation of constitutional cou Further, | very that | am
aware of the provisions set forth in 28 USC §1915 that prohibit an inmate from filing a civil
action or appeal, if the prisoner has, three or more occasions, while incarcerated, brought
an action or appeal in federal court that are dismissed on the grounds that it was frivolous,
malicious or failed to state a claim upon which relief may be granted, unless the prisoner
is in imminent danger of serious physical injury. | understand that if this complaint is

dismissed on any of the above grounds, | may be prohibited from filing any future actions
without the pre-payment of filing fees.

| declare under penaity of perjury the foregoing to be true and correct.

DATED: Mev 4” Zo/¥ SIGNED: se yO Py
 

Case 7:20-cv-00344-EKD-JCH, Abjotantehtn 4129)06/17/20 Page 3 of 85 Pageid#: 3

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